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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                              NO. 4:14CR00010-01-JLH

STEPHEN MARK WARE                                                         DEFENDANT

                                        ORDER

      The Government has moved to recall Defendant Stephen Mark Ware’s arrest

warrant and issue a summons for his appearance.1 (Docket entry #122) The motion is

GRANTED.

      The warrant issued on April 3, 2014, is hereby recalled. The Clerk is directed to

issue a summons to Mr. Ware and deliver to the United States Marshal for service,

directing Mr. Ware’s appearance for plea and arraignment before United States

Magistrate Judge J. Thomas Ray at 10:00 a.m. on April 24, 2014.

      IT IS SO ORDERED this 16th day of April, 2014.




                                         UNITED STATES MAGISTRATE JUDGE




      1
          Judge Holmes referred the motion. (#141)
